                  Case 2:09-cv-03037-CI   Document 20   Filed 03/11/10



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 4
                            UNITED STATES DISTRICT COURT
 5
                          EASTERN DISTRICT OF W ASHINGTON
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 7   DAVID ROBERTS,
                                      )
 8                   Plaintiff,       )
                                      )           NO. CV-09-3037-CI
 9        v.                          )
                                      )
10   MICHAEL J. ASTRUE,               )           JUDGMENT IN A
     Commissioner of Social Security, )             CIVIL CASE
11                                    )
                   Defendant.         )
12   ________________________________)
13
           DECISION BY THE COURT:
14
           This action came to hearing before the Court. The issues have been heard
15
     and a decision has been rendered.
16
           IT IS ORDERED AND ADJUDGED that:
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           Plaintiff’s Motion for Summary Judgment is DENIED; Defendant’s Motion
18
     for Summary Judgment dismissal is GRANTED.            Judgment is entered for
19
     Defendant.
20
           DATED: March 11, 2010
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                                              JAMES R. LARSEN
22                                            District Court Executive/Clerk
23                                            s/ L. Stejskal
                                              Deputy Clerk
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